
LaROSE, Judge.
C.P. was adjudicated delinquent for throwing a deadly missile into an occupied vehicle. On appeal, he argues that the trial court erred in imposing a $250 public defender fee without giving him notice and an opportunity to be heard.1 We agree and the State concedes error. Accordingly, C.P.’s adjudication and sentence are affirmed. We reverse the imposition of the $250 public defender fee and remand to the trial court to strike it. The trial court may reimpose the fee only if it provides C.P. with notice of its intent to do so and the opportunity to be heard at a hearing on the matter. See McMillan v. State, 8 So.3d 1237, 1238 (Fla. 2d DCA 2009); Bruno v. State, 960 So.2d 907, 908 (Fla. 2d DCA 2007).
Affirmed in part, reversed in part, and remanded.
VILLANTI and WALLACE, JJ., Concur.

. The issue was preserved by the filing of a Florida Rule of Juvenile Procedure 8.135(b) motion to correct disposition or commitment error. The trial court did not rule on the motion within thirty days; thus, it is deemed denied. Fla. R. Juv. P. 8.135(b)(1)(B); O.H. v. State, 948 So.2d 79, 80 (Fla. 2d DCA 2007).

